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     AO 245B Sheet 1 - Judgment in a Criminal Case - D. Massachusetts (03/02)

                                      United States District Court
                                                  District of Massachusetts
                UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                           v.                                              (For Offenses Committed On or After November 1, 1987)
                   JOHN MARTORANO                                          Case Number:     1: 97 CR 10009            - 001 - MLW

                                                                           Martin Weinberg, Esq. and Francis DiMento, Esq.
                                                                           Defendant’s Attorney




     THE DEFENDANT:
            ✘ pleaded guilty to count(s):
             pleaded nolo contendere to counts(s)                                                which was accepted by the court.
             was found guilty on count(s)                                                                    after a plea of not guilty.
     Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                     Date Offense Count
     Title & Section          Nature of Offense                                                      Concluded         Number(s)
18 USC § 1962(d)         Racketeering                                                               01/10/95         1
18 USC § 1962(c)         Racketeering                                                               01/10/95         2
18 USC § 224             Bribery in Sporting Contests                                               11/30/95         3
18 USC § 1951            Extortion                                                                  06/30/94         4
18 USC § 893 & 2         Extensions of Credit by Financial Extortion                                10/31/93         5
18 USC § 892             Making Extortionate Extensions of Credit                                   10/31/93         6
                                                                                                 ✘ See continuation page
            The defendant is sentenced as provided in pages 2 through 6                  of this judgment. The sentence is imposed
     pursuant to the Sentencing Reform Act of 1984.

              The defendant has been found not guilty on counts(s)                                                                   and
     is discharged as to such count(s).

              Count(s)                                                                   is dismissed on the motion of the United States.
     IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
     of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
     imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
     States Attorney of any material change in the defendant’s economic circumstances.
                                                                                                  06/24/04
     Defendant’s Soc. Sec. No.: XXX-XX-9142                                      Date of Imposition of Judgment

     Defendant’s Date of Birth: XX/XX/1940
                                                                                 Signature of Judicial Officer
     Defendant’s USM No.: 40343-004
                                                                                         The Honorable Mark L. Wolf
     Defendant’s Residence Address:                                              Name and Title of Judicial Officer
         499 Essex Street                                                                Judge, U.S. District Court
         Lawrence, MA 01840
                                                                                 Date
     Defendant’s Mailing Address:
         Same
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   Continuation Page - Judgment in a Criminal Case
   CASE NUMBER:         1: 97 CR 10009               - 001 - MLW                 Judgment - Page   2   of   6
   DEFENDANT:
                                       JOHN MARTORANO
                                          ADDITIONAL COUNTS OF CONVICTION

                                                                            Date Offense       Count
   Title & Section             Nature of Offense                            Concluded          Number(s)
18 USC § 894               Collection of Credit by Extortion                12/31/94       7
18 USC § 1955 & 2          Illegal Gambling, Aiding & Abetting              01/10/95       8
18 USC § 1956 & 2          Money Laundering, Aiding & Abetting              01/10/95       9-77
18 USC § 3                 Accessory After the Fact                         04/30/94       78
18 USC § 1071              Harboring a Fugitive                             04/30/04       79
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AO 245B Sheet 2 - Imprisonment - D. Massachusetts (10/01)
CASE NUMBER:        1: 97 CR 10009             - 001 - MLW                                            Judgment - Page    3 of   6
DEFENDANT:
                                   JOHN MARTORANO

                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of   168 month(s)
concurrent on each count




         The court makes the following recommendations to the Bureau of Prisons:




     ✘   The defendant is remanded to the custody of the United States Marshal.


         The defendant shall surrender to the United States Marshal for this district:
            at             on
            as notified by the United States Marshal.


         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            before              on
            as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Officer.

                                                              RETURN
I have executed this judgment as follows:




         Defendant delivered on                                    to

at                                     , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL




                                                                                         By
                                                                                                   Deputy U.S. Marshal
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AO 245B Sheet 3 - Supervised Release - D. Massachusetts (10/01)
CASE NUMBER:       1: 97 CR 10009             - 001 - MLW                                                 Judgment - Page   4 of 6
DEFENDANT:
                                  JOHN MARTORANO
                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of              60    month(s)




                                                                                                     See continuation page
The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13,1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

         The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check if applicable.)

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall also comply with the additional conditions on the attached page (if indicated above).

                                 STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependants and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.
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AO 245B Judgment in a Criminal Case - D. Massachusetts (10/01)
         Sheet 5, Part A — Criminal Monetary Penalties
                                                                                                                                     Judgment - Page   5 of 6
 CASE NUMBER: 1: 97 CR 10009 - 001 - MLW
 DEFENDANT:            JOHN MARTORANO
                                                    CRIMINAL MONETARY PENALTIES
     The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
 Sheet 5, Part B.
                         Assessment                                          Fine                                    Restitution
 TOTALS                           $4,300.00


      The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      in full prior to the United States receiving payment.

                                                                                                                                   Priority Order
                                                           *Total                          Amount of                               or Percentage
 Name of Payee                                            Amount of Loss                  Restitution Ordered                        of Payment




                                                                                                                                     See
                                                                                                                                     Continuation
                                                                                                                                     Page
 TOTALS                                                          $0.00                                    $0.00


       If applicable, restitution amount ordered pursuant to plea agreement

       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

             the interest requirement is waived for the              fine and/or           restitution.

             the interest requirement for the               fine and/or        restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
 committed on or after September 13, 1994 but before April 23, 1996.
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AO 245B Judgment in a Criminal Case - D. Massachusetts (10/01)
         Sheet 5, Part B — Criminal Monetary Penalties

                                                                                                                            Judgment - Page   6   of   6
 CASE NUMBER: 1: 97 CR 10009 - 001 - MLW
 DEFENDANT:            JOHN MARTORANO

                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 A           Lump sum payment of                                 due immediately, balance due

                 not later than                                      , or
                 in accordance with           C,         D, or      E below; or

 B     ✘     Payment to begin immediately (may be combined with C, D, or E below); or

 C           Payment in                     (e.g., equal, weekly, monthly, quarterly) installments of                        over a period of
                              (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D           Payment in                 (e.g., equal, weekly, monthly, quarterly) installments of                        over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E           Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of imprisonment, payment
 of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made
 through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise directed
 by the court, the probation officer, or the United States attorney.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



       Joint and Several

       Case Number, Defendant Name, and Joint and Several Amount:




                                                                                                                            See Continuation
       The defendant shall pay the cost of prosecution.                                                                     Page
       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
